        Case 2:18-cr-00101-GEKP Document 397 Filed 05/02/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                            :
                                                    :
            v.                                      :     CRIMINAL NO. 18-101-13
                                                    :
JOANNE RIVERA                                       :

                                         ORDER

                 AND NOW, this          day of May, 2022, upon consideration of the

Government's Motion to Unseal, it is hereby

                                       ORDERED

that the government=s motion be, and hereby is, GRANTED, and that the Plea Hearing in

this matter is hereby temporarily, UNSEALED.

                                              BY THE COURT:




                                              HONORABLE GENE E.K. PRATTER
                                              United States District Court Judge
        Case 2:18-cr-00101-GEKP Document 397 Filed 05/02/22 Page 2 of 3




                           IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                               :
                                                       :
             v.                                        :         CRIMINAL NO. 18-101-13
                                                       :
JOANNE RIVERA                                          :

       GOVERNMENT=S MOTION TO TEMPORARILY UNSEAL PLEA HEARING

                  The United States of America, by its attorneys, Jennifer Arbittier Williams,

United States Attorney for the Eastern District of Pennsylvania, and Mary Kay Costello,

Assistant United States Attorney for the district, respectfully represents:

       1.         On March 6, 2020, the government presented a Change of Plea in this matter,

wherein all related filings and notices were filed under seal.

       2.         The government is requesting that the Plea Hearing be temporarily unsealed for

the limited purpose of obtaining a transcript of the guilty plea colloquy.

                  WHEREFORE, the government respectfully requests that its motion be granted

and that the Plea Hearing be temporarily unsealed.

                                                Respectfully submitted,

                                                JENNIFER ARBITTIER WILLIAMS
                                                United States Attorney



                                                 s/ Mary Kay Costello
                                                MARY KAY COSTELLO
                                                Assistant United States Attorney
        Case 2:18-cr-00101-GEKP Document 397 Filed 05/02/22 Page 3 of 3



                              CERTIFICATE OF SERVICE

              I hereby certify that a copy of the Government’s Motion to Unseal has been

served on below counsel by e-mail.

                                 Carmen C. Nasuti , III, Esq.
                                 Attorney for Joanne Rivera




                                                           s/ Mary Kay Costello
                                                          MARY KAY COSTELLO
                                                          Assistant United States Attorney

Date:   May 2, 2022
